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                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ALABAMA
                              SOUTHERN DIVISION



EVAN MILLIGAN, et al.,

              Plaintiffs,                      Case No. 2:21-cv-01530-AMM

              v.                                 THREE-JUDGE COURT

WES ALLEN, in his official capacity as
Alabama Secretary of State,

              Defendant.


MARCUS CASTER, et al.,

              Plaintiffs,                       Case No.: 2:21-cv-1536-AMM

              v.

WES ALLEN, in his official capacity as
Alabama Secretary of State,

              Defendant.


              SECRETARY ALLEN’S EMERGENCY MOTION
                    FOR STAY PENDING APPEAL

      Defendant Secretary of State Wes Allen respectfully requests that this Court

stay its order (Milligan Doc. 272; Caster Doc. 223) enjoining him from using Ala-

bama’s 2023 Plan for congressional districts pending appeal of that order. Secretary

Allen intends to file an application for a stay pending appeal with the Supreme Court

on September 7, 2023.
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                                         BACKGROUND

          On July 21, 2023, the Alabama Legislature passed and the Governor signed

into law Act No. 2023-563, which repealed the redistricting law that had governed

Alabama’s congressional elections since 2021 and replaced it with the 2023 Plan.

See Milligan Doc. 220-11. The Milligan and Caster Plaintiffs filed challenges with

this Court, arguing that the 2023 Plan should be enjoined because it did not include

at least two districts in which black voters “have an opportunity to elect a representa-

tive of their choice.” Milligan Doc. 200 at 6 (quoting Doc. 107 at 5); Caster Doc.

179 at 2 (same).

          On September 5, 2023, this Court issued an order that preliminarily enjoined

use of the 2023 Plan. See Milligan Doc. 272; Caster Doc. 223.1 The Court held that

the 2023 Plan “does not remedy the likely Section Two violation that” the Court

found in the 2021 Plan and that “the Milligan Plaintiffs are substantially likely to

establish that the 2023 Plan violates Section Two.” Milligan Doc. 272 at 6. The Court

ordered the special master and cartographer to submit proposed plans to the Court

by September 25, 2023. Milligan Doc. 273 at 7.

          On September 5, 2023, Secretary Allen filed notices of appeal in Milligan and

Caster. See Milligan Docs. 274 & 275; Caster Doc. 225.




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    All citations hereafter shall be to the copy of the opinion on the Milligan docket.

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                            STANDARD OF REVIEW

      Under Federal Rule of Civil Procedure 62(d), this Court may stay its order to

permit an appeal. See also Fed. R. App. P. 8. In considering whether to stay an order

pending appeal, courts weigh the following four factors:

      (1) whether the stay applicant has made a strong showing that he is
      likely to succeed on the merits;

      (2) whether the applicant will be irreparably injured absent a stay;

      (3) whether issuance of the stay will substantially injure the other par-
      ties interested in the proceeding; and

      (4) where the public interest lies.

Nken v. Holder, 556 U.S. 418, 426 (2009); Swain v. Junior, 958 F.3d 1081, 1088

(11th Cir. 2020) (staying preliminary injunction pending appeal). “The first two fac-

tors are ‘the most critical.’” Swain, 958 F.3d at 1088 (quoting Nken, 556 U.S. at

434). “[W]here the government is the party opposing the … injunction, its interest

and harm merge with the public interest.” Id. at 1091 (citing Nken, 556 U.S. at 435).

Here, all of these factors weigh in favor of granting a stay.

                                    ARGUMENT

I.    Secretary Allen Is Overwhelmingly Likely to Succeed on the Merits Be-
      cause Plaintiffs Have Not Proven a Likely Section 2 Violation.

      The Milligan and Caster Plaintiffs assert that § 2 of the Voting Rights Act

requires Alabama’s congressional plan to have two majority-minority districts or

something close to it, even if achieving that goal requires sacrificing traditional dis-

tricting principles given effect in the plan that they challenge. As Secretary Allen

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explained in his Response to Plaintiffs’ Objections, see Milligan Doc. 220, Plaintiffs

are mistaken. Secretary Allen incorporates by reference all of those arguments pre-

viously made.

      Nevertheless, this Court entered a preliminary injunction that bars “Secretary

Allen from conducting any elections with the 2023 Plan” based on the Court’s con-

clusions “that the 2023 Plan does not remedy the likely Section 2 violation” of the

2021 Plan, and that the 2023 Plan likely violates § 2. See Milligan Doc. 272 at 6.

      Secretary Allen has appealed the Court’s order. The Secretary has fundamen-

tal disagreements with the Court over whether the 2023 Plan remedies a likely § 2

violation and whether the 2023 Plan complies with § 2. The Secretary’s arguments

were set forth in his earlier filed response, see Milligan Doc. 220, and are likely to

prevail on appeal. For the reasons he has already briefed, Secretary Allen has ex-

plained that the 2023 Plan complies with Section 2 and remedies any likely violation

that existed in the repealed plan, even without creating a second majority-black dis-

trict or “‘something quite close to it.’” Milligan Doc. 272 at 3. This Court’s order

thus should be stayed.

II.   The Balance of Equities Favors a Stay.

      Absent a stay, the State will be compelled to cede its sovereign redistricting

power to the Court so that Alabamians can be segregated into different districts based

on race. Though “[l]egitimate yet differing communities of interest should not be



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disregarded in the interest of race,” League of United Latin Am. Citizens v. Perry,

548 U.S. 399, 434 (2006), that is the inevitable result of the Court’s order, as shown

by plan after plan proposed by the Plaintiffs. That means that the State will be barred

from enforcing a “statut[e] enacted by representatives of its people.” Maryland v.

King, 567 U.S. 1301, 1303 (2012) (Roberts, C.J., in chambers). And “the inability

to enforce its duly enacted plan clearly inflicts irreparable harm on the State.” Abbott

v. Perez, 138 S. Ct. 2305, 2324 n.17 (2018).

      The balance of harms necessarily supports a stay so that millions of Alabam-

ians are not soon districted into a court-ordered racial gerrymander. The 2023 Plan

unifies the Black Belt, without the sprawling districts needed to hit Plaintiffs’ racial

targets. The stay factors counsel strongly in favor of allowing Alabama the oppor-

tunity to have its appeal heard before the 2023 Plan is supplanted by a court-drawn

plan that sacrifices traditional redistricting principles in service of racial targets.

                                    CONCLUSION

      The Court should grant stays pending appeal of its orders in Milligan and

Caster, which preliminarily enjoin use of the 2023 Plan. Due to the exigencies im-

posed by these cases and these orders, and the State’s potential need to seek appellate

review on an expedited basis, Secretary Allen respectfully requests that the Court

issue a prompt ruling on this stay motion. The Secretary intends to seek similar relief

from the Supreme Court on September 7, 2023.



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                         Respectfully Submitted,

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                       CERTIFICATE OF SERVICE

     I hereby certify that on September 5, 2023, I filed the foregoing using the

Court’s CM/ECF system, which will serve all counsel of record.

                                    /s/ Edmund G. LaCour Jr.
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